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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

RHONDA FLEMING,

       Plaintiff,
v.                                                 Case No.: 4:21cv325-MW/MJF

KERRI PISTRO, WARDEN OF
FCI-TALLAHASSEE,

     Defendant.
__________________________/

                      ORDER FOLLOWING BENCH TRIAL

       In this case, Plaintiff sought declaratory and injunctive relief for alleged

violations of her constitutional right to bodily privacy stemming from the conditions

of the showers and toilets in the federal prisons where she has been housed. At the

outset of this litigation, Plaintiff was pro se and brought multiple claims regarding

the Bureau of Prisons’ Transgender Offender Manual. See ECF No. 1 at 13–19.

Defendants moved to dismiss all of Plaintiff’s claims, ECF No. 51, and all but one

were dismissed. ECF No. 91. Plaintiff then obtained counsel. See ECF Nos. 104,

105, 106.

       Following discovery, Defendant Strong1 moved for summary judgment on

Plaintiff’s remaining claim. ECF No. 134. This Court denied the motion because


       1
          The only claim remaining after Defendants’ motion to dismiss was granted in part is an
official-capacity claim against Defendant Strong. At trial, Defendant moved to substitute the
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“factual disputes remain[ed] with respect to whether the bathroom stalls and shower

curtains at FCI Tallahassee afforded Plaintiff sufficient privacy” to protect her

constitutional right to bodily privacy. ECF No. 143 at 2. Prior to trial, Defendant

moved to dismiss Plaintiff’s remaining claim for lack of subject matter jurisdiction

based on alleged representations by Plaintiff’s counsel that the relief she sought was

an injunction prohibiting the BOP from housing transgender female inmates with

cisgender female inmates. 2 ECF No. 152 at 2. As Defendant correctly noted, this

Court lacks subject matter jurisdiction over any challenges to BOP’s housing-

placement determinations. See 18 U.S.C. §§ 3621(b), 3625. This Court convened a

telephonic hearing, after which this Court denied Defendant’s motion based on

Plaintiff’s counsel’s representation that Plaintiff was not seeking an injunction

regarding the BOP’s housing-placement determinations. ECF No. 158.

       This Court conducted a bench trial in this matter beginning on Tuesday,

January 14, 2025 and continuing through Wednesday, January 15, 2025. At the

conclusion of the trial, this Court announced its findings of fact and conclusions of




current warden of FCI Tallahassee, Warden Pistro, under Fed. R. Civ. P. 25(d). This Court granted
the motion without objection. Accordingly, the case style has been amended to reflect the
substitution.
       2
          This Court notes that throughout the course of this litigation, this Court has not policed
the parties’ or witnesses’ language as it pertains to the subject at issue, nor has this Court imposed
any restrictions or given any direction to the parties, counsel, or witnesses on the terminology or
pronouns to be used. Thus, the terms “transgender female,” “biological male,” and “natal male”
are used interchangeably throughout the record.
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law on the record. This Court ruled in favor of Defendant on Plaintiff’s remaining

claim for violation of her constitutional right to bodily privacy. This Order

incorporates those findings of fact and conclusions of law by reference as if fully set

forth herein and summarizes those conclusions below.

      This is an important case raising an important issue. As this Court noted on

the record, the law makes plain that prisoners have constitutional rights, including a

right to bodily privacy. But the law also makes plain that the scope of those rights is

limited by the realities of prison administration, and that courts must give “great

deference to the decisions of prison officials relating to the administration” of their

facilities. See, e.g., Fortner v. Thomas, 983 F.2d 1024, 1029 (11th Cir. 1993). Thus,

Fortner and its progeny establish that a prisoner’s constitutional right to bodily

privacy is invaded only when she is coerced or compelled to expose intimate parts

of her nude body by a government policy or practice, written or unwritten, or by the

order, direction, or acquiescence of a government official, express or implied. In this

case, Plaintiff simply did not carry her burden to prove, by a preponderance of the

evidence, that she was coerced or compelled in any such way to expose herself in

the shared showers or toilets at BOP facilities in which she has been housed.

      On the contrary, this Court found that BOP policy and practice is to prohibit

such exposure and to provide Plaintiff and other inmates with numerous means to

protect their bodily privacy. In every facility Plaintiff described, she and all other

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inmates are required to shower, use the toilet, and change their clothes in individual

stalls separated by walls and covered by curtains, and they are permitted to choose

the times they shower. This Court found that the only compelled exposure Plaintiff

may experience occurs during group strip searches, which are conducted only in

emergency circumstances, such as when a tool that could be used as a weapon is

missing. Plaintiff’s claim—made for the first time at trial—that these emergency

strip searches violate her constitutional right to bodily privacy was not properly pled,

exhausted, or tried by consent. And even if it were properly before this Court,

voluminous case law establishes that exposure in such a situation—even to a

member of the opposite sex—does not amount to a constitutional violation.

      Even if Plaintiff had carried her burden to prove that a BOP policy or practice

did in fact result in the involuntary exposure of the intimate parts of her nude body

to a transgender female inmate, and such a claim were properly before this Court,

the law establishes that such exposure is only a constitutional violation if those

policies and practices are unreasonable under Turner v. Safley, 482 U.S. 78 (1987).

See Fortner, 983 F.2d at 1024. Turner lays out four factors that courts must weigh

to make this determination: first, whether there is a “valid, rational connection”

between the regulation and a legitimate government interest put forward to justify

it; second, whether alternative means of exercising the asserted right remain open to

inmates; third, whether accommodation of the asserted right would have an impact

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on prison staff, inmates, and the allocation of prison resources generally; and fourth,

whether the regulation represents an “exaggerated response” to prison concerns.

After weighing the factors here, this Court concluded that the policies and practices

at issue are not unreasonable, and thus, Plaintiff’s constitutional right to bodily

privacy was not violated.

      First, this Court analyzed the Transgender Offender Manual as a whole under

Turner, as Plaintiff argued it should, and concluded that it is reasonable.

      As to the first Turner factor, the Manual bears a valid, rational connection to

a legitimate penological interest: namely, the need to develop policies regarding

transgender inmates in BOP custody that balance the interests of all inmates, the

need for security and effective rehabilitation, and the practical realities of prison

administration. This connection is evident from the language and directives of the

policy, which identify these considerations and direct that they be incorporated into

decisions regarding transgender inmates, from the testimony of Dr. McLearan, who

described the process of formulating the policy, and from the testimony of Wardens

Pistro and Strong, who described their implementation of the policy.

      As to the second factor, numerous means remain available for Plaintiff to

exercise her constitutional right to bodily privacy. Binding Eleventh Circuit

precedent directs that at this step in the Turner analysis, courts must be conscious of

the measure of judicial deference owed to corrections officials, and the right should

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be defined sensibly and expansively. Harris v. Thigpen, 941 F.2d 1495, 1517 (11th

Cir. 1991). Plaintiff can exercise her right to bodily privacy by making use of the

individual stalls and curtains that are provided to shield her body from view while

changing, showering, using the toilet, and trying on newly issued garments, and by

choosing when she uses the showers and toilets.

      As to the third factor, alternative means of accommodating Plaintiff’s right to

bodily privacy would have a significant impact on prison staff, inmates, and the

allocation of prison resources. Binding Eleventh Circuit precedent directs that at this

step in the Turner analysis, this Court must evaluate the impact of alternatives that

could be implemented on a prison-wide scale, not individual accommodations.

Rodriguez v. Burnside, 38 F.4th 1324, 1333 (11th Cir. 2022). Each of the alternatives

suggested by Plaintiff—including replacing all privacy curtains in BOP facilities,

scheduling showers for all inmates, providing all inmates with the opportunity to

request a private shower, or creating separate housing for transgender inmates—

would have a significant impact on prison staff, inmates, and the allocation of prison

resources.

      And as to the fourth factor, the Manual does not represent an exaggerated

response to prison concerns. At this step, the existence of “obvious, easy

alternatives” to the policy is evidence that the policy is an exaggerated response. But

Plaintiff has not presented any “obvious, easy alternatives” to the Manual’s policies,

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nor any other evidence suggesting that it is an exaggerated response to BOP’s

concerns.

       All four factors thus point in the same direction: the Transgender Offender

Manual is reasonable under Turner.

       This Court also analyzed whether the BOP’s policies and practices regarding

strip searches specifically—as described by the Transgender Offender Manual and

testimony at trial—are reasonable under Turner. After weighing all the factors, this

Court concluded that they are.

       First, there is a valid, rational connection between the strip searches that

Plaintiff described and a legitimate penological interest, and between the strip search

policies contained in the Transgender Offender Manual and a legitimate penological

interest. The BOP has a legitimate security interest both in conducting strip searches

quickly and efficiently in emergency scenarios and in addressing the heightened risk

of harassment and violence that it has found transgender inmates are subjected to in

its prisons.

       Second, although Plaintiff does not have a means available to exercise her

privacy right during strip searches, the case law establishes that this factor is not

dispositive, particularly in the context of strip searches motivated by a legitimate

security need. See, e.g., Timm v. Gunter, 917 F.2d 1093, 1100 (8th Cir. 1990);

Letcher v. Turner, 968 F.2d 508, 510 (5th Cir. 1992); Covino v. Patrissi, 967 F.2d

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73, 79 (2d Cir. 1992); see also Harris, 941 F.2d at 1517 (concluding that lack of

alternative means to exercise the right at issue was not dispositive).

      Third, the accommodation of Plaintiff’s right to bodily privacy in the context

of the emergency group strip searches she described would have a significant impact

on prison staff, inmates, and the allocation of prison resources because it would

either require more staff to conduct the searches as quickly or would compromise

safety by resulting in slower, less controlled searches.

      Finally, the searches Plaintiff described and the policies governing strip

searches in the Transgender Offender Manual do not represent an exaggerated

response to prison concerns. There is no “obvious, easy alternative” to the manner

in which the searches were conducted or the policies contained in the Manual that

would not significantly burden prison resources, staff, and other inmates or impede

legitimate safety concerns.

      As noted previously, all of Plaintiff’s claims, save one, were dismissed at an

earlier stage in this case. See ECF No. 91 (Order adopting Report &

Recommendation). For the reasons stated on the record, incorporated by reference,

and summarized herein, this Court finds for Defendant with respect to Plaintiff’s

sole remaining claim.




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      Accordingly, the Clerk shall enter judgment stating, “Plaintiff’s claims are

DISMISSED.” The Clerk shall close the file.

      SO ORDERED on January 17, 2025.

                                     s/Mark E. Walker                   ____
                                     Chief United States District Judge




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